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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


                                        )
    IN RE: JOHNSON & JOHNSON            )
    TALCUM POWDER PRODUCTS              )
    MARKETING, SALES PRACTICES AND )              MDL Docket No. 2738
    PRODUCTS LIABILITY LITIGATION       )
    ___________________________________ )
                                        )
    This Document Relates To All Cases  )
                                        )


      DEFENDANTS JOHNSON & JOHNSON AND JOHNSON & JOHNSON
        CONSUMER INC.’S MEMORANDUM OF LAW IN SUPPORT OF
       CONDITIONAL MOTION TO EXCLUDE CERTAIN PLAINTIFFS’
          EXPERTS’ OPINIONS FOR LACK OF QUALIFICATIONS

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          The key, overarching question at this stage of the litigation is whether there

    is reliable science that perineal use of cosmetic talcum powder can cause ovarian

    cancer. To address that question, both plaintiffs and defendants have retained a

    slate of experts to offer opinions related to the issue of general causation, every one

    of whom is an M.D. or Ph.D. in various fields, such as gynecologic oncology,

    epidemiology/biostatistics, pathology, cancer biology or toxicology. In light of the

    experience of the experts on both sides and the complexities of the scientific issues

    in this litigation, the J&J defendants believe that it would be a waste of time and

    resources for the parties and the Court to spend a significant amount of energy

    debating whether the parties’ experts are qualified to offer the opinions in their

    reports. This is especially true because the experts for both parties are trained and

    experienced in overlapping fields – such that any qualifications challenge to one

    party’s experts would apply equally to witnesses on the other side as well.

    Moreover, as detailed in the J&J defendants’ various memoranda in support of

    their omnibus motion to exclude plaintiffs’ experts’ opinions, none of plaintiffs’

    experts has a reliable methodological basis for connecting talc use to ovarian

    cancer, and a host of other causation-related opinions that they seek to offer are

    similarly unsupported by the relevant science. These fundamental deficiencies

    require exclusion of plaintiffs’ experts’ opinions regardless of their qualifications.
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          Moreover, the Third Circuit has made clear that it “interpret[s] Rule 702’s

    qualification requirement liberally,” recognizing that a “broad range of knowledge,

    skills, and training qualify an expert.” Pineda v. Ford Motor Co., 520 F.3d 237,

    244 (3d Cir. 2008) (citation omitted); see also Magistrini v. One Hour Martinizing

    Dry Cleaning, 180 F. Supp. 2d 584, 594 (D.N.J. 2002) (noting that the Third

    Circuit has “eschewed imposing overly rigorous requirements of expertise and [has]

    been satisfied with more general qualifications”), aff’d, 68 F. App’x 356 (3d Cir.

    2003). As a result, “most arguments about an expert’s qualifications relate more to

    the weight to be given the expert’s testimony than to its admissibility.” Holbrook v.

    Lykes Bros. S.S. Co., 80 F.3d 777, 782-83 (3d Cir. 1996) (rejecting argument that

    board-certified physician in internal and pulmonary medicine was unqualified to

    testify about the causes of mesothelioma).

          Nonetheless, in anticipation of plaintiffs’ qualification challenges with

    respect to defendants’ experts, the J&J defendants respectfully submit this briefing

    to address plaintiffs’ experts’ qualifications. In particular, and as set forth in more

    detail below, many of plaintiffs’ experts seek to offer opinions on a wide range of

    subjects that fall outside the scope of their expertise and – in a number of cases –

    expressly admitted as much at their depositions. Defendants thus conditionally

    move to exclude the opinions of these experts in part or in full based on lack of




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    relevant qualifications to the extent the Court considers plaintiffs’ motions related

    to qualifications.

    I.    ARCH CARSON

          Dr. Carson, a physician who “specializes in the practice of medical

    toxicology,”1 seeks to offer a variety of opinions in this litigation that are grounded

    in epidemiology,2 even though he is not an epidemiologist and did not train in

    epidemiology.3 Not only does Dr. Carson lack epidemiological expertise, but he is

    also not a gynecologist or an oncologist; has never treated women for

    gynecological cancer; is not a cancer biologist; and has never been involved in


    1
           (Expert Report of Arch Carson, M.D., Ph.D. (“Carson Rep.”) ¶ 2, Nov. 16,
    2018 (attached as Ex. C9 to Tersigni Cert.).) Medical toxicology is a subspecialty
    of medicine that focuses on the diagnosis, treatment and prevention of poisoning
    and other adverse effects due to medications, occupational and environmental
    toxicants and biological agents. In other words, a medical toxicologist focuses on
    the clinical management of patients who have been exposed to poisons or other
    toxic substances. By contrast, a scientist with a Ph.D. in toxicology focuses on
    analyzing the nature, effects and detection of poisons and other toxic substances.
    2
          (Id. at 9.)
    3
           (Dep. of Arch I. Carson, M.D., Ph.D. (“Carson Dep.”) 61:17-19, Jan. 19,
    2019 (attached as Ex. B5 to Tersigni Cert.).) Plaintiffs questioned defendants’
    experts extensively regarding whether they had expertise in the area of
    epidemiology, suggesting they intend to take a narrow view of what qualifies
    someone to opine on this topic. (See, e.g., Dep. of Ie-Ming Shih, M.D., Ph.D.
    52:11-54:24, Mar. 26, 2019 (attached as Ex. B28 to Tersigni Cert.) (plaintiffs’
    counsel asking Dr. Shih, a gynecologic pathologist, about his experience in the
    field of epidemiology); Dep. of H. Nadia Moore, Ph.D. (“Moore Dep.”) 127:21-
    128:4, Apr. 4, 2019 (attached as Ex. B27 to Tersigni Cert.) (plaintiffs’ counsel
    asking Dr. Moore, a toxicologist, about her experience in the field of
    epidemiology).)

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    research relating to ovarian cancer.4 Dr. Carson also has never published anything

    regarding talcum powder specifically,5 an issue plaintiffs’ counsel repeatedly

    raised in depositions of defendants’ experts who seek to provide epidemiological

    and other opinions.6 Nonetheless, he purports to undertake a Bradford Hill

    analysis of the alleged causal connection between talc and ovarian cancer in his

    report.7

          Other opinions offered by Dr. Carson similarly fall outside of his area of

    expertise, including those regarding the purported contamination of talc with

    asbestos, heavy metals, fibrous talc and fragrances and the supposed causal

    relationship between these substances and ovarian cancer.8 Dr. Carson testified

    that it is his “opinion that all talcum powder products do contain a certain amount



    4
          (Id. 60:11-62:20.)
    5
          (Id. 64:9-11.)
    6
           (See, e.g., Dep. of Christian Merlo, M.D., M.P.H. (“Merlo Dep.”) 25:13-16,
    Apr. 18, 2019 (attached as Ex. B9 to Tersigni Cert.) (plaintiffs’ counsel asking
    whether he “published a commentary or review on talcum powder products and its
    [sic] safety”); Moore Dep. 155:17-19 (plaintiffs’ counsel asking, “Have you ever
    published on anything pertaining to talc?”); Dep. of Michael Birrer, M.D., Ph.D.
    102:2-8, Mar. 29, 2019 (attached as Ex. B36 to Tersigni Cert.) (plaintiffs’ counsel
    asking, “You’ve never published an article on talcum powder and ovarian cancer?
    Is that correct?”); Dep. of Karla Ballman, Ph.D. 49:20-50:6, Mar. 22, 2019
    (attached as Ex. B32 to Tersigni Cert.) (plaintiffs’ counsel asking whether she had
    “ever expressed an opinion” on talc and ovarian cancer before this litigation).)
    7
          (See Carson Rep. at 8-11.)
    8
          (Id. at 5.)

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    of asbestos, even if it’s extremely small.”9 He pressed those opinions in the face of

    his disclaimer of any expertise with regard to asbestos and notwithstanding the fact

    that he is not a geologist or a mineralogist.10 Dr. Carson’s claim that heavy metals,

    fibrous talc and added fragrances contribute to talcum powder’s cancer-causing

    potential is similarly beyond his expertise, by his own admission.11 Indeed,

    Dr. Carson’s lack of qualifications to address these topics is evident from the fact

    that he relies entirely on another of plaintiffs’ experts – Dr. Michael Crowley – to

    support his opinions on them.12 In short, much of Dr. Carson’s report consists of

    opinions that stray well outside the confines of his expertise as a medical

    toxicologist.

    II.   ROBERT COOK
          Dr. Cook is a mining engineer and geologist13 who was retained “to review

    the geology of the talc deposits that sourced Defendants’ talcum powder products,

    to evaluate the mining practices employed, and to assess Defendants’ sampling and



    9
          (Carson Dep. 353:20-23 (emphasis added).)
    10
           (See id. 55:15-20 (“I don’t consider myself an asbestos expert.”); id. 61:2-4
    (testifying that he is not a geologist, mineralogist or microscopist).)
    11
         (See id. 64:12-21 (admitting he has never researched fragrances); 137:11-13
    (“Q. Do you consider yourself to be an expert on fibrous talc? A. No, I don’t.”).)
    12
          (See Carson Rep. at 6-8.)
    13
           (Dep. of Robert Cook, Ph.D. (“Cook Dep.”) 69:17-70:7, Jan. 30, 2019
    (attached as Ex. B43 to Tersigni Cert.).)

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    testing from a mining perspective.”14 Dr. Cook’s opinions go well beyond the

    scope of his claimed expertise as a mining engineer and geologist. For example:

          • Dr. Cook contends that “[t]alc deposits derived by the alteration of

             serpentinites contain chrysotile and amphibole species in fibrous

             asbestiform habits, all of which are known carcinogens”;15

          • Dr. Cook asserts that “[f]ibrous talc occurs in serpentinite-derived talc

             deposits, possibly by pseudomorphism of early chrysotile or amphiboles.

             Such fibrous talc is not detectable by standard amphibole asbestos XRD

             screening . . .”;16

          • Dr. Cook opines that “[m]ine development and selective mining are not

             completely effective in avoiding ore and ore-related rock potentially

             containing amphiboles, chrysotile, and elevated amounts of heavy metals

             and arsenic”;17 and

          • Dr. Cook states that “[a]nalytical data indicate that nickel, chromium and

             cobalt, known carcinogens, reach finished talc products in amounts above




    14
          (Am. Expert Report of Robert B. Cook, Ph.D. (“Am. Cook Rep.”) at 2, Jan.
    22, 2019 (attached as Ex. C2 to Tersigni Cert.).)
    15
          (See id. at 2.)
    16
          (Id.)
    17
          (Id.)

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           Johnson & Johnson’s (J&J) specified limits.”18

 Dr. Cook is not qualified to offer these opinions. Dr. Cook has repeatedly

 conceded that he is not an expert in carcinogenicity or toxicology.19 Nor has he

 published anything regarding talcum powder specifically.20 And prior to being

 retained as an expert in this MDL proceeding, Dr. Cook had not even “thought

 about the . . . talc-ovarian cancer issue at all,”21 let alone formulated any opinions

 with respect to the potential presence “of asbestos or heavy metals in talcum

 powder.”22 Accordingly, the Court should bar Dr. Cook from offering opinions in

 these areas that, by his own admission, stray well beyond his areas of expertise.



 18
        (Id. at 3; see also, e.g., id. at 2 (stating that “chrysotile and amphibole
 species in fibrous asbestiform habits” and “[f]ibrous talc” “are known
 carcinogens”); id. at 3 (opining “that nickel, chromium and cobalt” are “known
 carcinogens”); id. at 4 n.3 (stating that asbestos is “a human carcinogen”); id. at 9
 (stating that “fibrous talc . . . has been determined to have similar harmful effects
 as asbestos”); id. at 29 (“Arsenic is a known human carcinogen.”); id. at 42
 (concluding “talc deposits . . . contain[] . . . known carcinogens”).)
 19
         (Cook Dep. 70:12-71:3, 95:17-96:8 (agreeing that “we’ve already
 determined you’re not an expert. You know, you’re not a doctor. You’re not a
 toxicologist.”); id. 96:20-22 (agreeing that “[he’s] not here to, you know, opine
 what may or may not cause human disease”); id. 99:14-18, 222:13-15 (“You’re not
 a toxicologist; right? A. Right.”); id. 314:7-13 (“Human disease I’m not an expert
 in.”); id. 397:2-16, 402:3-10 (“I’m not an expert in human disease.”); id. 441:17-
 442:1 (agreeing he “[is] not an expert on toxicology . . . . or carcinogenicity or
 medicine”).)
 20
       (Id. 29:6-10.)
 21
       (Cook Dep 29:6-10.)
 22
       (Id. 88:4-10.)

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 III.   MICHAEL CROWLEY
        Dr. Crowley, a chemist, was retained to address two questions: (1) whether

 the fragrance chemicals in defendants’ talcum powder products are compliant with

 governmental and industry standards; and (2) whether such alleged chemicals can

 “contribute to the inflammatory properties, toxicity, and potential carcinogenicity

 of the products.”23 Dr. Crowley lacks the requisite expertise to answer these

 fundamental questions.

        First, Dr. Crowley’s own deposition testimony reveals that he is not an

 expert on FDA regulations. Specifically, the extent of his knowledge and

 experience with this wide-ranging topic is that he “read” and “understand[s]” FDA

 regulations.24 He nonetheless seeks to opine that the fragrance components of

 Johnson & Johnsons Consumer Inc.’s (“JJCI’s”) talcum powder products “are not

 in compliance with governmental and industry standards.”25 Dr. Crowley’s mere

 reading and understanding of FDA regulations should not suffice to qualify him as

 an expert in FDA or industry standards, particularly given that his stated

 “methodology” for reaching his ultimate conclusion was taking a list of fragrance

 chemicals provided in the report of Thomas Dydek (one of plaintiffs’ state court

 23
       (Expert Report of Michael M. Crowley, Ph.D. (“Crowley Rep.”) at 11, Nov.
 12, 2018 (attached as Ex. C34 to Tersigni Cert.).)
 24
        (Dep. of Michael Crowley, Ph.D. (“Crowley Dep.”) 61:20-23, Jan. 4, 2019
 (attached as Ex. B37 to Tersigni Cert.).)
 25
        (Crowley Rep. at 11.)

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 experts) and then “plugging” the “names of the chemicals” into “Google or

 PubChem to see what [he] could find.”26 See Craig v. Xlear, Inc., No. 2:16-cv-

 00392-DB-EJF, 2019 WL 1119429, at *6 (D. Utah Mar. 11, 2019) (expert was

 unqualified to offer opinions regarding breach of fiduciary duty where he had to

 conduct Google searches to understand the definition of that term); Huffman v.

 Electrolux Home Prods., Inc., 129 F. Supp. 3d 529, 539 (N.D. Ohio 2015) (finding

 expert unqualified to opine on presence of mold in washing machines where expert

 had never investigated mold prior to preparing his report and limited his

 investigation to internet research).

       Second, Dr. Crowley’s deposition testimony similarly demonstrates that he

 is not sufficiently qualified to opine about the putative capacity of the alleged

 fragrance chemicals in talcum powder products to “contribute to the inflammatory

 properties, toxicity, and potential carcinogenicity of the products.”27 In particular,

 as Dr. Crowley admitted, he has never written or published papers on the topics of

 fragrance chemicals or talcum powder or addressing the question of talcum powder

 and purported inflammation or irritation.28 He also made it clear that he is not a

 medical toxicologist, doctor, or pathologist, and he does not have a Ph.D. in

 toxicology; nor, as it relates to this litigation more specifically, does he have any

 26
       (Crowley Dep. 109:7-12.)
 27
       (Crowley Rep. at 11.)
 28
       (Crowley Dep. 65:5-8, 66:18-67:8.)

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 prior experience in perineally-applied cosmetic products or with fragrance

 chemicals, asbestos, ovarian cancer, inflammation or irritation as it relates to

 talcum powder.29 Yet, Dr. Crowley’s opinions about the supposed capacity of the

 alleged fragrance chemicals in talcum powder products to contribute to the

 inflammatory properties, toxicity, and potential carcinogenicity of the products

 indisputably reached these specialized matters. Indeed, Dr. Crowley repeatedly

 addresses such varied matters as epidemiology and biological plausibility

 (including the subsidiary issues of migration, inflammation and oxidative stress).

       For example, Dr. Crowley claims that: (1) epidemiology supports the

 conclusion that the fragrances in talc can cause or increase the risk of cancer;30

 (2) certain fragrances “can cause inflammation and oxidative stress” and,

 correspondingly, contribute to the alleged “potential carcinogenicity” of Johnson’s

 Baby Powder and Shower to Shower;31 (3) inflammation causes “insults to the

 vagina” that “generate certain proteins” that have “been positively linked with

 higher incidences of cancers in the . . . female reproductive organs”;32 and (4) skin

 irritation can somehow cause ovarian cancer because “inflammatory chemicals




 29
       (Id. 55:16-24, 62:10-67:21.)
 30
       (Id. 106:15-107:8.)
 31
       (Crowley Rep. at 14; see also id. at 65 (similar).)
 32
       (Crowley Dep. 216:18-217:10.)

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 travel throughout the human body.”33 None of these topics falls within even

 Dr. Crowley’s aggressive definition of his own expertise. Because Dr. Crowley is

 not qualified to offer opinions regarding FDA regulations, cancer biology, industry

 standards and the presence and alleged health effect of fragrance chemicals in

 defendants’ talcum powder products, those opinions should be excluded.

 IV.   SARAH KANE

       Dr. Kane is a pathologist who “offers opinions in a host of areas outside her

 field, including epidemiology and cancer biology.”34 As Dr. Kane acknowledged,

 she is not an epidemiologist; she does not have a degree in epidemiology; she has

 never designed or published an epidemiological study; and she has never taught a

 course in epidemiology.35

       Nevertheless, Dr. Kane’s report undertakes a study-by-study analysis,

 offering a paragraph for each of several epidemiological studies in a discussion

 that spans from page 16 to page 29 of her report. These lengthy overviews of the

 literature conclude with (largely unreferenced) discussions of the strengths and

 weaknesses of each of these studies, including on matters such as recall bias and

 confounders; the strength and consistency of the epidemiological associations; and

 33
       (Id. 82:4-83:3.)
 34
       (Expert Report of Robert J. Kurman at 12, Feb. 25, 2019 (attached as Ex.
 C37 to Tersigni Cert.).)
 35
        (Dep. of Sarah E. Kane, M.D. (“Kane Dep.”) 223:18-226:1, Jan. 25, 2019
 (attached as Ex. B45 to Tersigni Cert.).)

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 the likely means by which the studies were administered (e.g., the use of trained

 interviewers, the blinding of study participants, and the like).36 While Dr. Kane

 insisted at her deposition that she “review[s] epidemiology and critique[s]

 epidemiology studies on a regular basis in [her] daily practice,”37 that does not

 qualify her to make the sort of in-depth judgments she offers about the particulars

 of the designs, strengths and weaknesses of individual studies.

       Dr. Kane also ventures into other areas clearly outside her expertise. She

 admitted at her deposition, for example, that she is not an asbestos expert.38 But in

 her report, she offers the opinion that “[t]he morphologic and

 immunohistochemical similarities between asbestos and talc malignancies

 constitute another line of evidence supporting my opinion that talc exposure in the

 genital area causes ovarian cancer.”39 She also opines that she has “seen evidence

 that talcum powder products manufactured by Johnson & Johnson (J&J Baby

 Powder and Shower to Shower) contained and continue to contain asbestos, talc

 containing asbestiform fibers (e.g. talc occurring in a fibrous habit) heavy metals

 (such as cobalt, chromium, nickel) and fragrance chemicals.”40 But Dr. Kane

 36
        (E.g., Expert Report of Sarah Kane (“Kane Rep.”) at 23, Nov. 15, 2018
 (attached as Ex. C38 to Tersigni Cert.).)
 37
       (Kane Dep. 214:11-16.)
 38
       (Id. 321:21-322:3.)
 39
       (Kane Rep. at 14.)
 40
       (Id. at 29.)
                                          12
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 avowedly lacks the expertise to independently evaluate the evidence she claims to

 “have seen” along these lines, and accordingly, she should not be allowed to offer

 an opinion on the matter.

 V.    MARK KREKELER

       Dr. Krekeler classifies himself as an expert in the area of mineralogy,41 but

 he far exceeds the scope of his expertise by offering opinions on topics as to which

 he has no special knowledge or training, including mining standards, health effects

 and carcinogenicity of various substances and regulatory processes.

       Most notably, Dr. Krekeler’s bottom line – that crushed-up nonasbestiform

 cleavage fragments pose a health risk – is well beyond his expertise. After all,

 Dr. Krekeler is a geologist, not a medical doctor or epidemiologist.42 As a result,

 he relies solely on “documents and things [he’s] read” by specialists in those fields

 to reach this “opinion.”43 This is no substitute for relevant expertise. Accordingly,

 Dr. Krekeler’s opinion on the health effects of cleavage fragments should be

 excluded.




 41
       (See Dep. of Mark Krekeler, Ph.D. (“Krekeler Dep.”) 16:15-17, Jan. 25,
 2019 (attached as Ex. B34 to Tersigni Cert.).)
 42
       (Id. 25:6-10 (“Q. Okay. And you’re not going to render any opinions about
 what causes disease, anything of that nature? A. Correct. I am not a medical
 expert. I am not an environmental health expert.”).)
 43
       (Id. 114:17-20.)

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       Moreover, although Dr. Krekeler admitted that he is “not an expert in the

 molecular mechanism of carcinogenicity” and “not a medical person,”44 he

 repeatedly refers to various contaminants as “toxic”45 and opines on the alleged

 health risks of talc, asbestos and nonasbestiform fibers.46 Similarly, Dr. Krekeler

 concedes that he is not “qualified to opine as to whether or not a particular level of

 nickel,” “arsenic, . . . cobalt and . . . chromium” “is sufficient to cause human

 disease,”47 but still purports to offer opinions on the health risks of these

 materials.48 These medical opinions are concededly beyond Dr. Krekeler’s

 expertise.

       Dr. Krekeler also goes beyond his expertise as a mineralogist by attempting

 to offer opinions pertaining to federal and international regulatory standards.

 44
       (Id. 25:6-22; see also id. 45:19-46:1 (admitting he is “not a medical doctor”
 and “not a toxicologist”); id. 115:11-22, 181:15-20 (“I’m not a medical expert”);
 269:18-23 (“I am not an oncologist. I am not a medical expert.”); 271:7-16 (“I’m
 not a medical expert.”).)
 45
        (Expert Report of Mark Krekeler, Ph.D. (“Krekeler Rep.”) at 1, Nov. 16,
 2018 (attached as Ex. C31 to Tersigni Cert.) (describing constituents as “toxic”); id.
 at 6 (explaining “[m]ost heavy metals are toxic”).)
 46
        (Id. at 4 (opining that “nonasbestiform cleavage particles . . . can have
 potentially dangerous health effects”); id. at 6-7 (opining that “[a]cademic and
 research literature have long-recognized many toxic metals commonly found in
 talc as known or possible carcinogens”); id. at 14 (opining that the “presence of
 fibrous talc [is] of significant concern from a human health . . . standpoint”).)
 47
       (Krekeler Dep. 274:9-23, 279:16-25.)
 48
       (See, e.g., Krekeler Rep. at 6-7 (listing chromium, nickel, cobalt and arsenic
 as “known or possible carcinogens”); id. at 33 (“Arsenic is a known human
 carcinogen.”); id. at 34 (“Nickel is a known human carcinogen.”).)

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 Dr. Krekeler admits that he is “not an expert in regulatory processes or mine

 regulations.”49 Nevertheless, he seeks to offer a host of opinions that JJCI’s

 mining practices – and the resulting JJCI cosmetic talc products – fail to satisfy

 regulatory standards.50 Because he has no specialized knowledge on these topics,

 these expert opinions are improper.

 VI.   SHAWN LEVY

       Shawn Levy, who has a Ph.D. in biochemistry, has been “retained to

 describe the role of genetics in the pathogenesis of cancer in general and

 specifically ovarian cancer.”51 But his opinions regarding biological plausibility

 clearly exceed his expertise and should be excluded for lack of qualifications to the

 extent the Court entertains plaintiffs’ expertise-based challenges.

       Dr. Levy’s expertise generally pertains to genetics associated with specific

 health conditions – e.g., head and neck cancer, breast cancer and hepatosplenic



 49
       (Krekeler Dep. 46:2-4; see also id. 211:4-7 (similar); id. 223:13-16 (“I’m not
 a regulatory expert.”); id. 234:13-21 (same).)
 50
        (See, e.g., Krekeler Rep. at 37 (opining “Johnson & Johnson’s baby powder
 and Shower to Shower products contained excessive levels of cobalt . . . by federal
 standards”); id. at 12 (opining that “[t]he practices and procedures Defendants tout
 fall short of satisfying international standards of quality and purity”); id. at 33
 (opining that “arsenic levels [are] well above international and national health
 standard regulation”); id. at 36 (explaining that “[t]he EPA, NIOSH and OSHA
 have established maximum safe levels for human consumption”).)
 51
        (Expert Report of Shawn Levy, Ph.D. (“Levy Rep.”) at 2, Nov. 16, 2018
 (attached as Ex. C39 to Tersigni Cert.).)

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 T-cell lymphoma.52 He has very little experience with ovarian cancer and has even

 less (indeed, zero) experience with talc, or with any of the substances that he

 claims contaminate cosmetic talc products, including asbestos, fibrous talc, metals

 and fragrances. In particular, Dr. Levy admits that the focus of his practice is not

 ovarian cancer,53 and he has published just a single article regarding that topic

 during the course of his entire career.54

       It is therefore hardly surprising that, in reaching his conclusion that talcum

 powder leads to biological changes that cause ovarian cancer, Dr. Levy was

 heavily reliant on others’ opinions, particularly with respect to epidemiology.55

 Nonetheless, Dr. Levy does seek to opine that “there’s a clear and well-evidenced

 biologically plausible role for talcum powder leading to ovarian cancer.”56 He

 further offers an opinion that asbestos, fibrous talc, metals and fragrances

 compound the purported inflammatory and carcinogenic effect of talc.57 But he

 conceded that he did not conduct any formal testing of his theory of biological


 52
       (Id. at 2.)
 53
        (See Dep. of Shawn Levy, Ph.D. (“Levy Dep.”) 90:3-8, Jan. 11, 2019
 (attached as Ex. B46 to Tersigni Cert.).)
 54
       (Id. 19:17-19.)
 55
        (Id. 233:10-15 (“I would refer to and defer to the other experts in
 epidemiology regarding their opinions on the validity of the asso[ciation]—validity
 and strength of the associations, again, from a formal epidemiology perspective.”).)
 56
       (Id. 112:6-9.)
 57
       (Levy Rep. at 15-17.)

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 plausibility – i.e., that “the more biologically active compounds you have in an

 exposure such as talc plus asbestos plus chromium and then plus a milieu of

 chemicals that are in fragrances may have an amplification effect.”58 Nor could he

 point to a particular article or any published scientific support for that theory.

 These shortcomings illustrate Dr. Levy’s fundamental lack of expertise with regard

 to the purported biological changes that allegedly occur as a result of talcum

 powder use. Accordingly, if the Court considers qualification challenges, his

 opinions must be limited.

 VII. ANNE MCTIERNAN
       Dr. McTiernan is an epidemiologist and doctor of internal medicine who

 was retained to “review the current state of the scientific literature regarding

 talcum powder products and opine on whether those products cause ovarian

 cancer.”59 Dr. McTiernan has not published any articles on the causes of ovarian

 cancer and did not reach a conclusion that perineal talc use causes ovarian cancer

 until she “began this project with Counsel.”60 Thus, to the extent plaintiffs

 challenge any of defendants’ experts on grounds that they do not have a


 58
       (Levy Dep. 235:9-24, 294:16-295:7.)
 59
       (Expert Report of Anne McTiernan, M.D., Ph.D. (“McTiernan Rep.”) at 3,
 Nov. 16, 2018 (attached as Ex. C7 to Tersigni Cert.).)
 60
       (Dep. of Anne McTiernan, M.D., Ph.D. (“McTiernan Dep.”) 46:12-22;
 59:10-60:5, 60:15-20, 60:24-61:1, 62:15-23, Jan. 28, 2019 (attached as Ex. B2 to
 Tersigni Cert.).)

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 background in gynecological oncology or have not specifically published on the

 issue of talc and ovarian cancer, the same arguments would apply to

 Dr. McTiernan.61

       Further, Dr. McTiernan’s report goes far beyond her expertise as an

 epidemiologist and internal medicine physician, offering a host of detailed

 opinions about the biological mechanisms by which talc purportedly causes

 ovarian cancer, including opinions that perineally-applied talc is capable of

 migrating into the vagina and through the genital tract to the ovaries and causing

 chronic inflammation capable of causing cancer once there.62 Dr. McTiernan is not

 a gynecologist, oncologist, pathologist or cancer biologist and therefore has no

 relevant qualifications that would allow her to render such opinions.63

       Dr. McTiernan also opines that cosmetic talc is capable of causing ovarian

 cancer because it is contaminated with asbestos, fibrous talc, fragrances and heavy

 metals such as chromium, nickel and cobalt, but all of these opinions fall far




 61
        (See, e.g., Merlo Dep. 19:13-17 (plaintiffs’ counsel asking defendants’
 expert, Dr. Merlo, whether he had experience in gynecology or oncology); id.
 20:20-21:1 (plaintiffs’ counsel asking Dr. Merlo whether he had published on the
 issues of talc and ovarian cancer); id. 150:21-154:10 (plaintiffs’ counsel asking Dr.
 Merlo if he was involved in any epidemiology study about talc and ovarian cancer
 or if anyone had ever consulted with him about talc and ovarian cancer).)
 62
       (McTiernan Rep. at 58-63, 66-67.)
 63
       (McTiernan Dep. 61:2-11.)

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 outside her area of expertise.64 Dr. McTiernan concedes that she is not an expert in

 asbestos, geology, mineralogy, toxicology or industrial hygiene.65 She also

 admitted at deposition that she herself has no knowledge, training or expertise that

 would allow her to state that cosmetic talc contains heavy metals – but instead

 bases such opinions on statements made by Dr. Longo, one of plaintiffs’ other

 experts.66 Similarly, Dr. McTiernan relies on statements by Dr. Crowley, another

 of plaintiffs’ experts, to opine that cosmetic talc contains fragrances and chemicals

 that are carcinogenic, underscoring that she is not qualified to make such an

 assessment.67 Accordingly, to the extent the Court entertains plaintiffs’ expertise-

 specific challenges, Dr. McTiernan’s opinions must be excluded as well.

 VIII. PATRICIA MOORMAN

       Dr. Moorman is an epidemiologist who was retained to “summarize the

 epidemiologic evidence related to talc use and ovarian cancer risk and to make a

 judgment as to whether there is sufficient evidence, based on the totality of

 evidence from epidemiologic investigations as well as laboratory and mechanistic

 studies, to conclude with a reasonable degree of scientific certainty that talcum




 64
       (McTiernan Rep. at 56-58, 62.)
 65
       (McTiernan Dep. 61:2-11, 252:12-254:16, 266:10-13.)
 66
       (Id. 271:25-272:10.)
 67
       (See McTiernan Rep. at 58; McTiernan Dep. 272:12-273:16.)

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 powder use is a causal factor for ovarian cancer.”68 Accordingly, Dr. Moorman

 testified at her deposition that it was her intent to focus her opinions in this

 proceeding on issues related to epidemiology, which is her particular “area of

 expertise.”69 Yet, Dr. Moorman offers a number of opinions in her expert report

 that exceed the bounds of her knowledge, experience and training in the field of

 epidemiology, including discussions of the purported biological mechanisms by

 which talc migrates to the ovaries and causes cancer there – and the alleged

 presence of asbestos, heavy metals and fragrances in cosmetic talcum powder.

       Most notably, Dr. Moorman opines in her report that “there are biologically

 plausible mechanisms by which this exposure could lead to ovarian cancer.”70

 Specifically, she opines that: “(1) talcum powder products can migrate from the

 perineum through the genital tract to the ovaries and fallopian tubes; (2) talcum

 powder products can become embedded in the ovarian tissue; (3) talcum powder

 products can induce an inflammatory response; and (4) the inflammatory response

 can result in increased oxidative stress and expression of cytokines, mutagenesis,

 and cell proliferation.”71 But Dr. Moorman repeatedly admitted at her deposition

 68
        (Expert Report of Patricia G. Moorman, M.S.P.H., Ph.D. (“Moorman Rep.”)
 at 7, Nov. 16, 2018 (attached as Ex. C35 to Tersigni Cert.).)
 69
       (Dep. of Patricia G. Moorman, M.S.P.H., Ph.D. (“Moorman Dep.”) 60:16-21,
 Jan. 25, 2019 (attached as Ex. B39 to Tersigni Cert.).)
 70
       (Moorman Rep. at 33.)
 71
       (Id. at 33-34.)

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 that these opinions fall outside her area of expertise as an epidemiologist. For

 example:

       • When questioned about whether she conducted a thorough review of the

            literature related to her biological plausibility opinions, Dr. Moorman

            insisted that she is “not a cancer biologist” or a “laboratory scientist” and

            “that is not my major area of expertise.”72 Accordingly, she noted that

            “there is information out there that a cancer biologist would have the

            expertise to review it in more detail because of their training, which is

            different than the training and expertise that I have.”73

       • Similarly, when asked about the basis for her opinion that perineally-

            applied talc can migrate to the ovaries, Dr. Moorman admitted that this

            subject was “a little bit outside [her] area of expertise,” and while her

            “intent was to read the articles that [she] was aware of, that were brought

            to [her] attention,” she cannot say whether she conducted a thorough

            review because of her lack of expertise on the issue.74

       • While Dr. Moorman seeks to opine that talc causes chronic inflammation

            that affects the expression of cytokines, mutagenesis, and cell

            proliferation, she admitted at her deposition that she lacks expertise
 72
       (Moorman Dep. 56:24-57:7.)
 73
       (Id. 57:16-21.)
 74
       (Id. 58:25-59:16.)

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           related to the study of cytotoxicity, genotoxicity or mutagenicity.75

 Dr. Moorman also admitted that her opinions that “talc products contain additional

 constituents that are known ovarian carcinogens,” including asbestos, fibrous talc,

 chromium, nickel and cobalt,76 fall outside the scope of her expertise. As

 Dr. Moorman concedes, she is not an expert in mineralogy or geology – and the

 issue of whether cosmetic talc includes asbestos is “a topic that would be more

 appropriately addressed by a mineralogist.”77 Further, Dr. Moorman testified that

 opinions that cosmetic talc includes heavy metals, fibrous talc or fragrances that

 are carcinogenic are not based on her own experience or expertise, but are instead

 dependent on the testimony of other experts.78

       Thus, Dr. Moorman is not qualified to opine on the biological mechanisms

 by which talc purportedly migrates to the ovaries and causes cancer there, or on the

 alleged presence of asbestos, heavy metals and fragrances in cosmetic talcum

 powder.


 75
       (Id. 53:4-12.)
 76
       (Moorman Rep. at 34-35.)
 77
        (Moorman Dep. 65:17-66:3; see also id. 82:20-23 (“I am not a mineralogist
 or a geologist, and so I would not consider myself an expert in reviewing”
 documents pertaining to whether talc products include asbestos).)
 78
       (See id. 118:5-20, 120:2-15, 123:14-124:8; see also id. 121:8-122:8;
 Moorman Rep. at 35 (citing the expert report of Dr. Crowley as the only basis for
 her opinion that cosmetic talc includes “fragrance ingredients” that are purportedly
 “harmful to humans”).)

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 IX.   LAURA PLUNKETT
       Dr. Plunkett is a litigation pharmacologist who also purports to be a

 toxicologist.79 When asked to describe her role in the MDL proceeding,

 Dr. Plunkett testified that she was retained to offer opinions regarding toxicology,

 the regulatory requirements governing cosmetic manufacturers, whether the J&J

 defendants complied with those requirements, as well as the talc industry’s attempt

 to influence the regulation of talc.80 However, the opinions set forth in

 Dr. Plunkett’s report stray well beyond those clearly defined topics, delving into

 such wide-ranging (and far afield) issues as biological plausibility and the

 purported presence of asbestos, fibrous talc and heavy metals in talcum powder

 products.81 She has never published on any of these topics and is not qualified to

 opine on them.

       Most notably, despite making clear at her deposition that she is “not doing

 general causation in the MDL,”82 her report devotes no fewer than 15 paragraphs to

 plaintiffs’ dubious theory of biological plausibility – i.e., “[t]he migration of talc

 internally after perineal application” and the “ability of particles to be transported


 79
       (Expert Report of Laura M. Plunkett, Ph.D., D.A.B.T. (“Plunkett Rep.”) ¶ 1,
 Nov. 16, 2018 (attached as Ex. C28 to Tersigni Cert.).)
 80
       (Dep. of Laura Plunkett, Ph.D., D.A.B.T. (“Plunkett Dep.”) 33:22-34:9, Dec.
 19, 2018 (attached as Ex. B33 to Tersigni Cert.).)
 81
       (Plunkett Rep. ¶¶ 17, 24, 27-38.)
 82
       (Plunkett Dep. 33:22-34:1.)

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 upwards against gravity in the female reproductive tract.”83 That extensive

 discussion – which is devoted to analyzing various “studies conducted in both

 humans and in animals”84 – is completely divorced from the supposed expertise

 described by Dr. Plunkett at her deposition. For these reasons, Dr. Plunkett is not

 qualified to opine on biological plausibility, asbestos or heavy metals.

 X.    GHASSAN SAED
       Dr. Saed claims license to opine on talc and ovarian cancer because he is an

 “expert in . . . oxidative stress and ovarian cancer.”85 Yet, as he admits, he is not

 “a physician [or an] OB-GYN oncologist who can answer” questions about

 methods for diagnosing or determining the cause of ovarian cancer because they

 fall outside his expertise.86 Further, he admits that he had never previously

 performed the type of studies he performed here – i.e., examining the alleged effect

 of particulate exposure on cells in vitro.87 This lack of prior experience directly

 affected the reliability of his work. For example, as further detailed in defendants’

 memorandum in support of their motion to exclude Dr. Saed’s work as unreliable

 and for lack of fit, Dr. Saed was not aware whether the putative “control” solvent

 83
       (Plunkett Rep. ¶¶ 43, 55; see also id. ¶¶ 41-56.)
 84
       (Id. ¶ 55.)
 85
       (Dep. of Ghassan Saed, Ph.D. Vol. 1 (“Saed 1/23/19 Dep.”) 27:10-11,
 276:15-17, Jan. 23, 2019 (attached as Ex. B12 to Tersigni Cert.).)
 86
       (Id. 248:1-249:12.)
 87
       (Id. 27:12-15.)

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 that he used to dilute talc could have skewed his testing results; he failed to use

 other particulates as negative or positive controls in his study; and he initially was

 using amounts of talc so high that he was destroying the cells.88 All of these

 methodological shortcomings can be traced to Dr. Saed’s lack of prior relevant

 experience and highlight that he was unqualified to perform the experiments he

 undertook on plaintiffs’ behalf.

       Dr. Saed also expresses opinions that fall outside even his claimed areas of

 expertise. His report includes opinions on epidemiological studies,89 for example,

 but Dr. Saed is not an epidemiologist – and at his deposition, he admitted that he

 had never even heard of the Bradford Hill factors before.90 Similarly, Dr. Saed

 expresses a raft of opinions on CA-125 – particularly that increasing levels of CA-

 125 are an important indicator that talc exposure causes ovarian cancer91 – even

 though, as he repeatedly acknowledged at his deposition, he is “not an expert in

 CA-125.”92 This lack of knowledge is especially problematic because, as

 deposition questioning revealed, Dr. Saed did not even know that CA-125 is


 88
       (See Mem. Of Law In Supp. Of Mot. To Exclude Expert Ops. Of Ghassan
 Saed at 35-41.)
 89
       (Expert Report of Ghassan Saed, Ph.D. (“Saed Rep.”) at 10-12, Nov. 16,
 2018 (attached as Ex. C17 to Tersigni Cert.).)
 90
       (Saed 1/23/19 Dep. 239:10-15.)
 91
       (E.g., Saed Rep. at 18, 20.)
 92
       (Saed 1/23/19 Dep. 248:13-249:12.)

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 correlated with a vast array of conditions that have nothing to do with ovarian

 cancer, precluding him from assessing possible alternative causes or implications

 of his in vitro findings.93 For all of these reasons, Dr. Saed’s opinions exceed his

 qualifications.

 XI.   JACK SIEMIATYCKI
       Dr. Siemiatycki is an epidemiologist who candidly does not “pretend to”

 have sufficient expertise in biological mechanisms to identify or explain the most

 likely mechanism by which talc would cause ovarian cancer, and who likewise

 concedes that he is not an expert in the composition of talc, disclaiming knowledge

 on whether there “are in fact contaminants like asbestos or heavy metals in

 Johnson & Johnson’s talcum powder products.”94

       Yet, he unquestionably attempts to offer opinions in both of these areas. In a

 section of his report spanning three pages, for example, he discusses the evidence

 that ostensibly “support[s] a few biologically plausible mechanisms,” including the

 routes that “talcum powder products [ostensibly] can take to reach the ovaries” and

 the alleged “carcinogenesis [that he claims] can be triggered by the inflammation




 93
       (See, e.g., id. 290:19-25 (unaware whether CA-125 levels can increase
 during menstrual period or when women have uterine fibroids).)
 94
       (Dep. of Jack Siemiatycki, Ph.D. (“Siemiatycki Dep.”) 74:24-75:5, 103:19-
 104:13, 331:4-25, Jan. 31, 2019 (attached as Ex. B29 to Tersigni Cert.).)

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 engendered by the particles.”95 In connection with inflammation in particular,

 Dr. Siemiatycki claims that there “is considerable evidence that inflammation is an

 important mechanism for carcinogenesis,”96 despite having conceded that he lacks

 the expertise needed to conclude that any proposed mechanism is a likely means by

 which talc would cause ovarian cancer.

       Dr. Siemiatycki also includes an entire section of opinions on “[w]hat were

 women exposed to in body powders?,” which includes a discussion on asbestiform

 mineral fibers, talc “impurities,” types of asbestos, the “metals detected in talcum

 powder products” and more.97 He further asserts that “[t]he evidence that

 commercial cosmetic talcum powder products have been shown to contain asbestos,

 fibrous talc and heavy metals . . . provides a reasonable basis for hypothesizing that

 these chemicals may contribute to the carcinogenicity of the talcum powder

 products.”98 These opinions exceed Dr. Siemiatycki’s expertise, as he himself

 conceded at his deposition.




 95
       (Expert Report of Jack Siemiatycki, M.Sc., Ph.D. (“Siemiatycki Rep.”) at
 64-66, Nov. 16, 2018 (attached as Ex. C21 to Tersigni Cert.).)
 96
       (Id. at 65.)
 97
       (Id. at 29-31.)
 98
        (Id. at 65-66.) Dr. Siemiatycki’s use of the word “hypothesis” is quite
 telling because it highlights the speculative nature of plaintiffs’ experts’ testimony
 with respect to heavy metals, as discussed in more detail in defendants’ Heavy
 Metals & Fragrances brief, incorporated herein.

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 XII. SONAL SINGH
       Dr. Singh was retained to provide an “opinion about whether talcum powder

 products are causally related to ovarian cancer” based on his review of the

 “scientific evidence and . . . epidemiological data.”99 But Dr. Singh has no prior

 experience investigating the relationship between talc and ovarian cancer and has

 never published on the issue.100 Thus, to the extent plaintiffs challenge defendants’

 experts, including three designated epidemiologists, on the ground that they have

 not conducted prior research or published articles on this topic, the same arguments

 would apply to Dr. Singh.101

       In addition, Dr. Singh exceeds the scope of his experience by offering

 detailed opinions regarding the biological mechanisms by which cosmetic talcum

 powder purportedly causes cancer even though he has no experience in gynecology

 or oncology.102 Like many of plaintiffs’ other experts, Dr. Singh seeks to opine

 that it is biologically plausible for perineally-applied talc to migrate through the

 genital system to the ovaries (or be inhaled and travel to the ovaries through the

 lymphatic system), that talc causes chronic inflammation in ovarian tissue and that
 99
       (Expert Report of Sonal Singh, M.D., M.P.H. (“Singh Rep.”) at 3, Nov. 16,
 2018 (attached as Ex. C40 to Tersigni Cert.).)
 100
       (See Dep. of Sonal Singh, M.D., M.P.H. (“Singh Dep.”) 84:10-17; 85:6-8,
 Jan. 16, 2019 (attached as Ex. B47 to Tersigni Cert.).)
 101
        (See, e.g., Moore Dep. 155:12-156:19 (asking defendants’ expert, Dr. Moore,
 if she had ever published anything on the topics of talc and ovarian cancer).)
 102
       (See Singh Rep. at 57-60.)

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 such chronic inflammation causes cancer.103 But when questioned about these

 opinions at his deposition, Dr. Singh repeatedly conceded that he was not qualified

 to offer them. For example, Dr. Singh generally admitted that “the biological

 mechanisms of cancer” are not his “area of expertise” and that this is “an area for

 other experts.”104 Indeed, despite dedicating multiple pages of his report to

 opinions about the mechanism by which talc purportedly moves though the body

 and causes cancer, Dr. Singh testified at his deposition: “I’m not going to be

 opining on the precise mechanisms of ovarian cancer in my testimony or my report.

 That’s not my area of expertise.”105

       Dr. Singh’s report also contains opinions that the “presence of asbestos in

 talcum powder products can and does provide a plausible biological explanation of

 the development of ovarian cancer” because “asbestos is a well-established causal

 agent for the development of . . . ovarian cancer.”106 Yet, Dr. Singh readily

 admitted at his deposition that he is not a mineralogist or geologist and does not

 “have the expertise to determine whether asbestos is present” in the products at

 103
       (Id.)
 104
       (Singh Dep. 187:3-188:18; 229:14-17.)
 105
         (Id. 231:16-22; see also id. 322:8-17 (“I’m not making this argument that
 talc is an established mutagen and, you know, whether it’s a genotoxic or
 nongenotoxic carcinogen. I’m just citing the studies. So, I mean, again, I don’t
 have that expertise, and, you know, does it provide evidence for or against
 biological plausibility mechanisms.”).)
 106
       (Singh Rep. at 59; see also id. at 14-16.)

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 issue.107 Dr. Singh similarly conceded that he does not have any specific

 experience that would qualify him to say that asbestos causes ovarian cancer.108 In

 addition, despite stating in his report that “talcum products contain fibrous talc,

 heavy metals and fragrance ingredients which are known or suspected

 carcinogens,”109 Dr. Singh admitted that he cannot establish a “causal link between”

 these purported constituent ingredients of cosmetic talc and ovarian cancer because

 he “do[es not] have that area of expertise on individual constituents in products.”110

 XIII. REBECCA SMITH-BINDMAN

       Dr. Smith-Bindman is a radiologist and epidemiologist who “was asked to

 review the medical and scientific literature regarding the relationship between

 genital talcum powder product use and ovarian cancer and determine whether the

 relationship is causal.”111 Prior to becoming involved in this litigation, Dr. Smith-

 107
       (Singh Dep. 277:7-8; see also id. 279:16-280:2 (Dr. Singh agreeing that
 mineralogists and geologists are the types of experts that would have substantive
 knowledge on the issue of whether cosmetic talc contains asbestos, not him).)
 108
        (Id. 286:15-23 (“Q. What types of asbestos are associated with ovarian
 cancer? A. I haven’t done a causal analysis of asbestos and ovarian cancer. . . . but
 -- about asbestos and fibrous talc, but obviously others will provide more -- more
 specifics”); id. 287:3-288:6 (“A. I have not -- as I said earlier, I have not evaluated
 the specific causal link between asbestos and ovarian cancer.”); id. 296:1-5 (“Q.
 And you’re not making a causal assessment or determination -- A. No. Q. -- on
 asbestos; is that right? A. Yes.”).)
 109
       (Singh Rep. at 60.)
 110
       (Singh Dep. 299:11-300:12.)
 111
        (Expert Report of Rebecca Smith-Bindman, M.D. (“Smith-Bindman Rep.”)
 at 4, 6, Nov. 15, 2018 (attached as Ex. C36 to Tersigni Cert.).)

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 Bindman had not done any work with respect to talc or its purported connection

 with ovarian cancer.112 Thus, any challenge that plaintiffs may make to the

 qualifications of defense experts, including epidemiologists, based on their alleged

 lack of prior experience investigating these topics, would apply to Dr. Smith-

 Bindman as well.

       Further, while Dr. Smith-Bindman indicated at her deposition that she

 intends to “testify[] . . . as an epidemiologist,” the scope of her opinions goes well

 beyond the field of epidemiology.113 Specifically, she seeks to offer opinions

 regarding biological plausibility, asbestos and heavy metals. She is plainly

 unqualified to offer these opinions. With respect to biological plausibility,

 Dr. Smith-Bindman seeks to opine “that particles contained in talcum powder

 reach the tubes and ovaries, inflammation initiates a causal pathway, and that

 several components of talc powder products including asbestos, asbestiform fibers

 in talc, and heavy metals can contribute to the carcinogenicity of the products.”114

 She also seeks to opine that it “is clear that talcum powder particles applied to the


 112
        (Dep. of Rebecca Smith-Bindman, M.D. Vol. I (“Smith-Bindman 2/7/19
 Dep.”) 48:14-20, Feb. 7, 2019 (attached as Ex. B40 to Tersigni Cert.) (“Q. You, at
 least [prior to being retained], had never previously done any research or review
 relating to talcum powder or relating to any potential association between talcum
 powder, perineal talcum powder use, and ovarian concern; is that right? A. That’s
 correct.”).)
 113
       (Id. 19:18-20, 20:16-18.)
 114
       (Smith-Bindman Rep. at 40.)

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 genital region will ascend through the vagina and fallopian tubes and enter the

 pelvic cavity, reaching fallopian tubes and ovaries.”115 But Dr. Smith-Bindman

 readily admitted at her deposition that these opinions fall outside of the scope of

 her expertise. Among other things, she admitted that “the biological processes are

 not technically epidemiology,”116 and that “there are others who have more

 expertise directly in [the biological mechanism] area.”117

       Dr. Smith-Bindman also seeks to opine that “talcum powder products

 contain asbestiform talc particles which have a similarity in structure to asbestos

 fibers (and which IARC concludes are carcinogenic).”118 And she contends that

 asbestos is “highly carcinogenic” to the lungs, lining of the lungs, larynx and

 ovaries.119 She further opines on the concentration of asbestos in talc based on “the

 numbers that [she has] seen.”120 But Dr. Smith-Bindman is not a geologist or a

 mineralogist,121 and “would absolutely not consider myself an expert on the




 115
       (Id. at 35.)
 116
       (Smith-Bindman 2/7/19 Dep. 19:18-20, 20:16-18.)
 117
       (Dep. of Rebecca Smith-Bindman, M.D. Vol. II (“Smith-Bindman 2/8/19
 Dep.”) 285:10-17, Feb. 8, 2019 (attached as Ex. B42 to Tersigni Cert.).)
 118
       (Smith-Bindman Rep. at 5.)
 119
       (Id. at 14.)
 120
       (Smith-Bindman 2/7/19 Dep. 139:22-140:14.)
 121
       (Id. 141:10-16.)

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 geology of asbestos.”122 She also admits she is not an expert in testing or

 quantifying the amount of asbestos in a particular product.123

       Finally, Dr. Smith-Bindman also seeks to opine that there are heavy metals

 in defendants’ talc products at levels that can cause cancer.124 Yet, she admitted at

 her deposition that she is “not an expert in understanding [the concentration of

 heavy metals in talc] in comparison to the concentrations in other things that we’re

 exposed to” or “how those different concentrations might be expected to have an

 influence on talc.”125

       Thus, if the Court considers qualifications challenges, Dr. Smith-Bindman

 should not be allowed to opine on areas outside her expertise.

 XIV. JUDITH ZELIKOFF
       Dr. Zelikoff is a toxicologist,126 who was asked by plaintiffs’ counsel “to

 assess biological plausibility in the causation of talc for ovarian cancer.”127 But

 Dr. Zelikoff admits that she only had “superficial” knowledge of talc and ovarian



 122
       (Id. 23:1-21.)
 123
       (Id.; Smith-Bindman 2/8/19 Dep. 322:11-17.)
 124
       (Smith-Bindman Rep. at 16.)
 125
       (Smith-Bindman 2/7/19 Dep. 139:7-21.)
 126
       (Expert Report of Judith Zelikoff, Ph.D. (“Zelikoff Rep.”) at 1-2, Nov. 16,
 2018 (attached as Ex. C24 to Tersigni Cert.).)
 127
        (Dep. of Judith Zelikoff, Ph.D. (“Zelikoff Dep.”) 72:23-73:16, Jan. 21, 2019
 (attached as Ex. B31 to Tersigni Cert.).)

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 cancer prior to becoming an expert in this litigation.128 As she testified, her

 knowledge was limited to identifying it as a “potential risk factor” in one lecture in

 a toxicology course, having read media reports and engaging in “lunchroom

 chatter.”129 She had not reviewed any scientific or medical literature regarding talc

 and ovarian cancer or ovarian cancer etiologies prior to being contacted by

 plaintiffs’ counsel.130 Nor had she published anything regarding talc, cosmetics or

 ovarian cancer.131 In addition, despite having dedicated two pages of her report to

 a discussion of talc, including its chemical structure and particle size, and fibrous

 talc,132 she admitted that she would not consider herself an expert in talc.133 Thus,

 to the extent plaintiffs challenge the qualifications of any of defendants’ experts on

 the ground that they do not have a background in talc and ovarian cancer

 specifically, the same arguments would apply to Dr. Zelikoff.

       Dr. Zelikoff seeks to opine that the presence of fragrances and asbestos in

 talc provides a biologically plausible mechanism for talc to cause ovarian

 cancer.134 For example, she asserts that “a significant number of the fragrance

 128
       (Id. 22:10-17.)
 129
       (Id. 25:3-19, 30:3-31:15.)
 130
       (Id. 141:10-17, 165:1-7.)
 131
       (Id. 159:5-9, 165:8-12.)
 132
       (Zelikoff Rep. at 3-4.)
 133
       (Zelikoff Dep. 185:3-13.)
 134
       (Zelikoff Rep. at 5-8, 12.)

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 chemicals added to talc elicit an inflammatory response.”135 She also seeks to

 opine that “[b]ecause asbestos is a known carcinogen, its presence in cosmetic talc

 is unacceptable.”136 These opinions are far afield from her area of expertise. As

 Dr. Zelikoff readily admits, she “[has] not been listed as an expert in fragrances”

 and “[has] not been classified as an expert in asbestos.”137 She is not a geneticist,

 mineralogist, chemist or industrial hygienist.138 Prior to submitting her report, she

 did not read any literature or review any other information regarding the vast

 majority of fragrances in Johnson’s Baby Powder or Shower to Shower.139 Instead,

 the brief discussion of fragrances in her report is based entirely on her adoption of

 the expert report of Dr. Crowley, belying any claim that she has relevant

 knowledge or expertise on this subject.140 Moreover, Dr. Zelikoff could not

 identify a single article that she authored regarding asbestos.141 Nor has she done




 135
       (Id. at 12.)
 136
       (Id. at 6.)
 137
       (Zelikoff Dep. 178:8-9; 184:1-6.)
 138
       (Id. 185:20-187:1.)
 139
       (Id. 45:19-48:9.)
 140
       (Zelikoff Rep. at 12; Zelikoff Dep. 48:4-9 (Dr. Zelikoff conceding that, prior
 to submitting her report, she did not look at any of the source material cited in Dr.
 Crowley’s expert report).)
 141
       (Zelikoff Dep. 163:2-8.)

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 any professional work regarding asbestos.142 Accordingly, she also lacks the

 qualifications to offer the fragrance- and asbestos-related opinions in her report.

                                   CONCLUSION

       While defendants do not believe that challenges to expert qualifications are a

 good use of the Court’s or parties’ resources, defendants conditionally request that

 the Court exclude the above-referenced opinions offered by plaintiffs’ experts on

 qualifications grounds to the extent it entertains plaintiffs’ anticipated arguments

 with respect to the qualifications of defendants’ experts.

 Dated: May 7, 2019                       Respectfully submitted,

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 142
       (Id. 169:11-15.)

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